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       /s/ Reka Beane


       Reka Beane, Attorney for Creditor
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                                     Corinne Dubetz - Loss Mitigation Officer




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